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                           IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLORADO

  Civil Action No. 1:18-cv-01475-KMT

  CARLOS INNISS, on behalf of himself and all others similarly situated,

            Plaintiff,

  v.

  ROCKY MOUNTAIN INVENTORY, INC., a Colorado corporation,
  BRIAN HUNGERFORD, an individual,
  JANINE HUNGERFORD, an individual, and
  LINDA HUNGERFORD, an individual,

            Defendants.


                  NOTICE OF FILING OF CONSENTS TO BECOME PARTY PLAINTIFFS


            PLEASE TAKE NOTICE, that pursuant to 29 U.S.C. § 216, Plaintiff hereby files the

  attached Consent Forms for the following individuals:

       1.       Robert Drabbs
       2.       Aimee Clark

                Respectfully submitted this 9th day of May, 2019.

                                                       /s/ Paul F. Lewis
                                                       Paul F. Lewis
                                                       Michael D. Kuhn
                                                       Andrew E. Swan
                                                       LEWIS | KUHN | SWAN PC
                                                       620 North Tejon Street, Suite 101
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                                                       Attorneys for Plaintiff
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                                           CERTIFICATE OF SERVICE

         I hereby certify that on this 9th day of May, 2019, I filed the foregoing Notice of Filing

  of Consents to Become Party Plaintiffs using the Court’s e-filing system, which will send

  notification to all counsel of record.

                                                        /s/ Anne S. Pearcy
                                                        Anne S. Pearcy
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